               Case 1:21-cv-00149-JRH-BKE Document 23 Filed 06/21/22 Page 1 of 1
                                     United States District Court
                                        Southern District of Georgia
                                                   Augusta Division

        Valencia Colon,
             Plaintiff,                            )
                                                   )
        vs.                                        )        CASE NUMBER : CV 1:21-149
        Richard Roundtree, et al.,                 )
              Defendants.                          )

                                                        NOTICE

                                                                                   Defendants
                                                          judgment was filed by : ____________________
      You are hereby notified that a motion for summary judgement
                                                   6/17/2022
____________________________ on _______________________________ . The motion will be submitted
for decision by the Court pursuant to the local rules. Unless you file for and are granted an extension of time to
respond, all pleadings, affidavits, and other evidence in opposition to this motion for summary judgment MUST be
                                                             07/08/20
filed with the Clerk's office ON OR BEFORE ___________________________________________(21
                                                                                       . days).

        You need to know that :
        1.     If you do not timely respond to this motion for summary judgment, the consequence may be that the
               Court will deem the motion unopposed, and the Court may enter judgment against you.
        2.     If your opponent's Statement of Material Facts sets forth facts supported by evidence, the Court may
               assume that you admit all such facts unless you oppose those facts with your own Statement of Material
               Facts which also sets forth facts supported by evidence. Also, your opponent may use its Statement of
               Material Facts to show that there is insufficient evidence to support your claims or defenses.
        3.     If a summary
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                                          to rebut it with admissible evidence.
        4.     You have a right to file affidavits or other material in opposition to the motion for summary
               judgment.
        5.     Federal Rule of Civil Procedure 56 governs summary judgment motions. You should consult this rule
               as well as the Local Rules for the Southern District of Georgia, especially Local Rule 56.1.
        6.    Pursuant to Rules 5 & 6 of the Federal Rules of Civil Procedure, a response is due
              within _______
                         21 days of service.
    IF YOU DO NOT RESPOND AS DIRECTED IN THIS NOTICE, THE COURT MAY ENTER A FINAL
       JUDGMENT AGAINST YOU WITHOUT A FULL TRIAL OR ANY OTHER PROCEEDINGS.

I certify that this 21st day of June, 2022, a correct copy of this notice was sent electronically through
CM/ECF  I certify that thisin_______
           to all parties     this caseday  of ____________________
                                         in accordance   with this Court's, Administrative
                                                                             _______ , a correct  copy of this
                                                                                              Procedures.       noticecertify
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forwarded   by United
that any party          States Mail
                 not authorized       to all parties
                                   to receive        affectedofbyelectronic
                                               notification        this motion  at the
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                                                                                                  a correct of record
                                                                                                             copy      in this
                                                                                                                   of this
case.
notice via US Mail.

                                             JOHN E. TRIPLETT, CLERK OF COURT
                                           BY:
                                                  --------------------------------------
                                                  DEPUTY CLERK
